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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                              CASE NO. 19-61292-CIV-ALTMAN/Hunt

  JEREMY BLUMENAUER,

         Plaintiff,
  v.

  PETLAND, INC. and POOCHES OF
  PINES, INC. d/b/a PETLAND
  PEMBROKE PINES,

        Defendants.
  _____________________________________/

                                               ORDER

         THIS MATTER comes before the Court upon a sua sponte review of the record. On

  July 3, 2019, counsel from Petland, Inc. filed a Notice of Pending, Refiled, Related or Similar

  Actions (“Notice”) [ECF No. 9]. The Notice indicated that a case based on the same alleged

  misconduct by the same defendant—Pooches of Pines, Inc.—and numbered 19-cv-61080, was

  filed before United States District Judge Federico A. Moreno on April 29, 2019. See id. On July

  12, 2019, Judge Moreno granted the Defendant’s Motion to Stay in that case, pending an FCC

  ruling that would clarify the definition of an automated telephone dialing system. See Case No.

  19-cv-61080 July 12, 2019 Order [ECF No. 13]. Given that the two proceedings involve

  substantially similar facts and parties, the Court hereby

         ORDERS the parties to SHOW CAUSE, by July 26, 2019, and in no more than three

  pages, why this case should not likewise be stayed and administratively closed pending the

  FCC’s anticipated ruling.

         Because Pooches of Pines has not yet appeared in this action, the Plaintiff is directed to

  provide a courtesy copy of this Order, by e-mail and within two business days, to Pooches of

  Pines’ counsel in case number 19-cv-61080-FAM.
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         DONE AND ORDERED in Fort Lauderdale, Florida this 18th day of July 2019.




                                                   _________________________________
                                                   ROY K. ALTMAN
                                                   UNITED STATES DISTRICT JUDGE
  cc: counsel of record
